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1                                                                        The Hon. Thomas S. Zilly
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7                           UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF WASHINGTON
8
                                        AT SEATTLE
9
10     UNITED STATES OF AMERICA,                            NO. CR18-079 TSZ
11
                                Plaintiff,
12                                                          FINAL ORDER OF FORFEITURE
                           v.
13
       MARIO KEITH BROOKS,
14
15                              Defendant.
16
17
18           THIS MATTER comes before the Court on the United States’ Motion for Entry of
19   a Final Order of Forfeiture for the following property:
20           •       One North American Arms CORR .22 caliber long rifle revolver with
21                   obliterated serial number.
22           The Court, having reviewed the United States’ motion, as well as the other
23   pleadings and papers filed in this matter, HEREBY FINDS that entry of a Final Order of
24   Forfeiture is appropriate for the following reasons:
25           •       Pursuant to the Stipulated Fact Trial Agreement entered on September 11,
26                   2018, the Defendant agreed that, in the event he was convicted of the
27                   offense charged in Count 1 of the Indictment, the above-identified property
28                   shall be subject to forfeiture to the United States (Dkt. No. 38, ¶ 5);

      Final Order of Forfeiture - 1                                            UNITED STATES ATTORNEY
                                                                              700 STEWART STREET, SUITE 5220
      United States v. Brooks, CR18-079 TSZ
                                                                                SEATTLE, WASHINGTON 98101
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1            •       At a stipulated bench trial held on September 11, 2018, the Court found the
2                    Defendant guilty as to Count 1 (Dkt. No. 39);
3            •       On November 26, 2018, the Court entered a Preliminary Order of
4                    Forfeiture, finding the above-identified firearm forfeitable pursuant to
5                    18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c), and forfeiting to the
6                    United States the Defendant’s interest in it (Dkt. No. 48);
7            •       Thereafter, as required by 21 U.S.C. § 853(n)(l) and Fed. R. Crim. P.
8                    32.2(b)(6)(C), the United States published notice of the pending forfeiture
9                    (Dkt. No. 55); and
10           •       The time for filing third-party petitions has expired, and none were filed.
11   NOW, THEREFORE, THE COURT ORDERS:
12           1.      No right, title, or interest in the above-identified firearm exists in any party
13   other than the United States;
14           2.      The firearm is fully and finally condemned and forfeited, in its entirety, to
15   the United States; and
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      Final Order of Forfeiture - 2                                            UNITED STATES ATTORNEY
                                                                              700 STEWART STREET, SUITE 5220
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                  Case 2:18-cr-00079-TSZ Document 61 Filed 06/08/20 Page 3 of 3



1            3.      The United States Department of Justice, the Bureau of Alcohol, Tobacco,
2    Firearms and Explosives, and/or their representatives, are authorized to dispose of the
3    firearm in accordance with the law.
4
5            IT IS SO ORDERED.
6
7            DATED this 8th day of June, 2020.


                                                      A
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9
10                                                    Thomas S. Zilly
11                                                    United States District Judge

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16   Presented by:
17
       s/Neal B. Christiansen
18
     NEAL B. CHRISTIANSEN
19   Assistant United States Attorney
     United States Attorney’s Office
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